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November 8, 2024

E-Filed

The Honorable Thomas S. Hixson
United States District Court for the Northern District of California
San Francisco Courthouse, Courtroom E – 15th Floor
450 Golden Gate Avenue
San Francisco, CA 94102

Re:    Kadrey et al. v. Meta Platforms, Inc.; Case No. 3:23-cv-03417-VC-TSH
       Motion to Enforce and for Order Re: Post-October 18 Discovery

Dear Magistrate Judge Hixson:
The parties respectfully submit this letter brief regarding two sets of Requests for Production of
Documents (“RFPs”) and sixteen third-party document subpoenas. Meta seeks an order: (1)
determining that Plaintiffs’ Seventh and Eighth Sets of RFPs (both served after October 18, 2024)
and all third-party document subpoenas served after October 18, 2024 are untimely; (2) holding
that neither Meta nor the third parties are required to respond to the RFPs or subpoenas; (3)
requiring Plaintiffs to withdraw the RFPs and subpoenas and notify the third parties served with
them that they are not required to respond; and (4) awarding Meta its fees associated with bringing
this motion. The parties met and conferred on this issue by email only between October 30, 2024
and November 4, 2024 and could not reach a resolution.
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I.     META’S POSITION
Judge Chhabria recently found Plaintiffs “at fault, once again, for failing to meet the deadline to
present disputes regarding ‘existing written discovery.’” Dkt. 253 (citing Dkt. 238). The present
motion concerns Plaintiffs’ flouting of yet another deadline in the same scheduling order (Dkt.
238)—the parties’ October 18, 2024 deadline to “Serve Additional Written Discovery Requests”
(“Written Discovery Deadline”). Plaintiffs have ignored that Court-ordered deadline by serving,
after October 18, two sets of RFPs to Meta and sixteen third-party document subpoenas. This
discovery is untimely, and the Court should order Plaintiffs barred from pursuing it.

As background, on October 4, 2024, Judge Chhabria issued an order extending the fact discovery
cut-off to December 13, 2024 and requiring a stipulation regarding “all surrounding dates.” Dkt.
211. On October 11, 2024, the parties filed such a stipulation, which included the October 18,
2024 Written Discovery Deadline. Dkt. 227 (“Stipulation”). Judge Chhabria approved the
Stipulation as an order of the Court on October 24, 2024. Dkt. 238 (“Scheduling Order”).

The Parties served various additional discovery requests by the October 18 deadline.1 However,
Plaintiffs then served many untimely RFPs and third-party document subpoenas after October 18,
2024, namely: (1) Plaintiffs’ Seventh Set of RFPs to Meta on October 23, 2024; (2) thirteen
document subpoenas to third parties on October 25, 2024;2 (3) Plaintiffs’ Eighth Set of RFPs to
Meta (mislabeled as the “Sixth” Set) on October 26, 2024; (4) two additional third-party document
subpoenas on October 28, 2024;3 and (5) a third-party document subpoena to Susan Zhang on
November 5, 2024.4 Nearly all of these requests could have been made earlier, but were not.5

On October 30, 2024, Meta wrote to Plaintiffs, raising the untimeliness of this written discovery.
Plaintiffs sought to justify the late discovery by arguing that the RFPs were “drafted and/or served”
by counsel for Plaintiff Farnsworth, that he was not a party to the Stipulation and, as to the
subpoenas, that the Scheduling Order “does not even mention third-party discovery.” See Exhibit
A (emails). Meta refuted these points, citing legal authority. See id. Plaintiffs quickly responded,
not engaging with Meta’s points, but stating that Meta “can raise [the issue] with the court.” Id.




1
  For example, Meta served a complete set of written discovery on Farnsworth on October 18.
2
  These were to: Bloomsbury Publishing, Dramatist’s Play Services, Hachette Book Group, NWS
Corp., MacMillan Publishers, Moya Chen, OpenAI, Penguin Random House, Simon & Schuster
International, Springer Nature AG & Co., Theater Communications Group, and Tim Dettmers.
3
  These were to: John Wiley & Sons, Inc. and Reuters News & Media, Inc.
4
  Plaintiffs note that Meta accepted service for two of the subpoenas—for current employee Susan
Zhang and former employee Tim Dettmers (whom Meta had represented in a prior privilege
dispute). Notably, Meta did so expressly “[w]ithout waiver of any rights or objections” to those
subpoenas or any “of the subpoenas we received notice of yesterday.” See Exhibit F (email).
Plaintiffs are wrong that Meta accepting service bears on whether the subpoenas are timely.
5
   The only one of Plaintiffs’ late requests prompted by a recent event concerns the Reuters
agreement. Documents concerning that issue will be produced in response to other requests, and
in any case, a discovery cutoff prevents perpetual discovery in cases involving ongoing practices.
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As confirmed by Judge Chhabria’s November 4 Order (Dkt. 253), the deadlines in the Scheduling
Order are binding and enforceable. See Johnson v. Mammon Recreations, Inc., 975 F.2d 604, 610–
11 (9th Cir. 1992) (“A scheduling order is not a frivolous piece of paper, idly entered, which can
be cavalierly disregarded by counsel without peril.”). Plaintiffs have not sought or received an
extension of the October 18 Written Discovery Deadline from Judge Chhabria, and thus this Court
should enforce that deadline and bar Plaintiffs’ belated RFPs and third-party document subpoenas.

Plaintiffs’ contention that Meta lacks standing to enforce this deadline as to third-party subpoenas
is wrong. See, e.g., Woods v. Google LLC, 2018 WL 5941122, at *2 (N.D. Cal. Nov. 14, 2018)
(granting party “request for an order prohibiting enforcement of [third-party] subpoenas” given
failure to “comply with the scheduling order”); Fed. Deposit Ins. Corp. v. BayOne Real Est. Inv.
Corp., 2017 WL 1316888, at *1–2 (N.D. Cal. Apr. 10, 2017) (granting protective order to party to
bar third-party subpoenas “in light of the discovery cutoff in the existing scheduling order”);
Dedmon v. Continental Airlines, Inc., 2015 WL 1740095, at *2 (D. Colo. April 14, 2015)
(“[r]egardless of the moving party’s standing to challenge a subpoena directed to a nonparty, courts
possess the inherent power to quash an untimely subpoena”). Plaintiffs’ cases involve parties
seeking to quash subpoenas based on burden or relevance, not to enforce a scheduling order.6

Plaintiffs have sought to defend their late discovery requests by arguing “Plaintiff Farnsworth
drafted and/or served” them. Exhibit A at 3. This argument fails. To begin, although Mr.
Farnsworth’s counsel signed several of the requests, it did so expressly on behalf of all “Plaintiffs”
(7th Set of RFPs, and 14 of the third-party subpoenas). See Exhibit B. Counsel at BSF signed the
8th Set of RFPs, likewise on behalf of all “Plaintiffs.” See Exhibit C. And counsel at the Saveri
Firm signed two of the third-party subpoenas on behalf of Plaintiffs Kadrey, Silverman and Golden
(per cover letter) and on behalf of “Plaintiffs Richard Kadrey, et al.” (per the notices). See Exhibit
D. Accordingly, the written discovery requests at issue were not “drafted and/or served” only by
Plaintiff Farnsworth; nor do they raise any issues specific to him.

Moreover, even if the late discovery had been propounded solely on behalf of Mr. Farnsworth, the
Court-ordered deadlines apply fully to him. Farnsworth was consolidated with Kadrey on October
18, which was also the Written Discovery Deadline. Dkt. 232. And Mr. Farnsworth’s counsel
served Requests for Admission (“RFAs”) and RFPs on behalf of all “Plaintiffs” on that deadline,
including several RFAs concerning Mr. Farnsworth. See Exhibit E (re-served on Oct. 23 due to
mislabeling). Plaintiffs’ prior discovery requests also were available to Mr. Farnsworth prior to
formal consolidation as needed to inform his discovery strategy, and Mr. Farnsworth’s counsel
represented to Judge Chhabria at the October 4 hearing (two weeks before formal consolidation)
that they had “been in collaborative touch with certain of the parties.” 10/4/24 Tr. at 9-10.
Moreover, the Court ordered consolidation on the premise that Mr. Farnsworth would not seek to
separate himself in a manner disruptive to the case schedule, stating in the consolidation order that
“[i]f the addition of the Farnsworth matter results in any delay in the case schedule, the Court


6
  Although Meta need not show prejudice because its motion is based on untimeliness, Meta will
be prejudiced if Plaintiffs are permitted to pursue their belated discovery. Not only will Meta not
be able to seek its own discovery of the third parties at issue, but Meta will have lost the opportunity
to pursue additional discovery after a deadline it complied with but that Plaintiffs did not.
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will reverse this order, reestablish the Farnsworth matter as a separate case, and stay that case
pending resolution or adjudication of the Kadrey matter.” Dkt. 232 (emphasis added).

Lastly, Plaintiffs’ argument that third-party document subpoenas are not “written discovery” is
without merit. Plaintiffs claim—citing nothing—that “the parties were crystal-clear that the
interim deadlines in their stipulation applied only to party discovery.” Not so. The term “written
discovery” as used in the Scheduling Order, with no carve-out for Rule 45 document subpoenas,
encompasses third-party document subpoenas. See, e.g., Valcor Engineering Corp. v. Parker
Hannifin Corp., 2018 WL 6186796, at *2 (C.D. Cal. July 11, 2018) (discovery deadline for “[a]ll
requests for production” includes Rule 45 document subpoenas); Essociate, Inc. v. Blue Whaler
Investments, LLC, 2012 WL 12953823, at *2 (C.D. Cal. Apr. 12, 2012) (deadline for “all requests
for production” includes third-party subpoena including document production); see also
Kovalenko v. Kirkland & Ellis LLP, 2024 WL 664691, at *1 (N.D. Cal. Feb. 16, 2024) (Hixson,
J.) (describing document requests to a party as “separate written discovery requests” from prior
third-party document subpoenas); see also Dedmon, 2015 WL 1740095, at *2 (“A subpoena duces
tecum issued to a third-party is ‘discovery’ within the meaning of [Fed. R. Civ. P.].”).

Plaintiffs’ persistent cavalier attitude towards Court-ordered deadlines should not be rewarded.
The Court should order that Meta need not respond to the untimely RFPs and should exercise its
inherent power to quash the untimely subpoenas. Plaintiffs also should be ordered to withdraw
the subpoenas and notify any served third parties the withdrawal. Finally, Meta should be awarded
reasonable attorney fees for this motion. See Fed. R. Civ. P. 37.

II.    PLAINTIFFS’ POSITION
A. The Subpoenas Are Timely and Seek Relevant Documents.

There is no basis to issue a protective order preventing Plaintiffs from obtaining relevant third-
party discovery prior to the December 13, 2024 discovery cut-off. “Parties may obtain discovery
regarding any nonprivileged matter that is relevant to any party’s claim or defense.” Fed. R. Civ.
P. 26(b)(1). “[T]he scope of discovery through a subpoena is the same as that applicable to Rule
34 and other discovery rules.” See Fed. R. Civ. P. 45 (Adv. Comm. N. to 1970 Am.).

“[A] party to an action does not have standing to move to quash a subpoena served upon a nonparty
unless the party claims a personal right or privilege with respect to the documents requested in the
subpoena.” Glass Egg Digital Media v. Gameloft, Inc., No. 17-cv-04165-MMC (RMI), 2019 WL
2499710, at *5 (N.D. Cal. June 17, 2019) (collecting cases); Doe v. Kaiser Found. Health Plan,
Inc., No. 23-cv-02865-EMC-PHK, 2023 WL 8714880, at *3 (N.D. Cal. Dec. 17, 2023) (same);
see also FemtoMetrix Inc v. Huang, No. 23-MC-80332-TSH, 2024 WL 396186, at *6 (N.D. Cal.
Feb. 1, 2024) (describing “[t]he rule that a party lacks standing to object” to a Rule 45 subpoena).
In addition, a party “cannot object to a non-party subpoena on the grounds of relevance or burden
where the non-party itself has not objected.” Botta v. PricewaterhouseCoopers LLP, No. 18-CV-
02615-RS (LB), 2018 WL 6257459, at *2 (N.D. Cal. Nov. 30, 2018). Meta conceded its motion
is governed by Your Honor’s Discovery Standing Order (“Standing Order”), which mandates that
a party cannot seek a protective order without first meeting and conferring “in good faith.” “An
exchange of written communications does not satisfy the meet and confer requirement.” Id.
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as here, Meta has “no standing to move to quash or for a protective order” of third-party subpoenas.
See Doe, 2023 WL 8714880, at *4.

B. There Is Good Cause for the Discrete Document Requests.

The two document requests, although served on Meta, also seek documents from third parties.
First, the single document request served on October 23 seeks documents responsive to Plaintiffs’
prior discovery requests that Meta received from third parties. Plaintiff Farnsworth and his counsel
served this request shortly after joining the case. Second, after news broke on October 25 that
Meta agreed with Reuters to purchase content for its AI chatbot, Plaintiffs sought documents
regarding the Meta-Reuters agreement the very next day, Saturday, October 26.

Neither request was a “new” request. Rather, Plaintiffs served these document requests to ensure
that Meta produced relevant third-party documents responsive to Plaintiffs’ prior discovery
requests, regardless of whether the documents originally came from a third party. Meta implicitly
conceded the Reuters requests were proper by confirming for the first time at 7:34 p.m. tonight
that documents concerning the Reuters agreement “will be produced.” Supra, fn. 5 (above). If
Meta confirms it will supplement to produce the remaining documents from third parties, Plaintiffs
will withdraw their requests.

It is regrettable that Meta chose to file this motion rather than meeting and conferring. Prior to
filing, Meta only exchanged emails about timeliness. Compare Ex. A with Standing Order
(“parties must first meet and confer . . . [and an] exchange of written communications does not
satisfy the meet and confer requirement.”). Meta never met or conferred about the substance of
the requests. See id.; Fed. R. Civ. P. 26(c).

Meta would have this Court impose a finding that Plaintiff Farnsworth’s counsel are “too late” and
should therefore be forced to pay Meta’s attorneys’ fees for discovery served less than a week after
they entered the case. Meta’s request is not supported. See also Standing Order (precluding
sanctions when the moving party fails to meet and confer before filing). It would also be
prejudicial to Plaintiffs—particularly Plaintiff Farnsworth—though there is no prejudice to Meta,
which is also free to seek third-party discovery prior to December 13. But according to Meta,
October 18 was the first and only day that Plaintiff Farnsworth and his counsel could seek
discovery because Kadrey counsel stipulated to an October 18 before Plaintiff Farnsworth even
joined the case. See Dkt. 227 (not listing Plaintiff Farnsworth or his counsel). Importantly,
Farnsworth counsel had no access to the confidential discovery record before October 18. While
they expected to work on an accelerated timeline, and are doing so, one day was simply not enough
time to review the record and address targeted third-party discovery issues.

With regard to the Reuters agreement, Kadrey counsel could not have known when they stipulated
on October 11 that Meta would subsequently announce an agreement with Reuters on October 25.
Instead of meeting and conferring with Plaintiffs about a clearly relevant agreement that Meta
should have already produced, Meta is seeking sanctions from Plaintiffs. Plaintiffs respectfully
submit that the parties should address this obvious and avoidable gap in the production in good
faith, and that Meta’s motion should be denied.
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               ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)

       I hereby attest that I obtained concurrence in the filing of this document from each of the

other signatories. I declare under penalty of perjury that the foregoing is true and correct.



Dated: November 8, 2024                                       COOLEY LLP


                                                              /s/ Kathleen Hartnett
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